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                      UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

         In re:                            Chapter 11

         Harlow N. Higinbotham,            Bankruptcy No. 18-31185

                             Debtor.       Honorable LaShonda A. Hunt


                               NOTICE OF MOTION
     Please take notice that, on January 31, 2019, at 10:00 a.m., or as soon
thereafter as counsel may be heard, the undersigned shall appear before the
Honorable LaShonda A. Hunt, United States Bankruptcy Judge for the Northern
District of Illinois, in Courtroom 719 of the United States Courthouse, at 219 South
Dearborn Street, Chicago, Illinois, to present the Motion of Wipaporn
Teekhungam and the Parties’ Minor Children to Dismiss the Case, a copy of
which is included herewith and served upon you, at which time and place you may
appear.

Dated: January 9, 2019                       Wipaporn Teekhungam, A.H, a
                                             minor, A.H., a minor, and A.H., a
                                             minor
                                             By: /s/ William J. Factor
                                             One of Their Attorneys

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                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

          In re:                             Chapter 11

          Harlow N. Higinbotham,             Bankruptcy No. 18-31185

                              Debtor.        Honorable LaShonda A. Hunt


            MOTION OF WIPAPORN TEEKHUNGAM AND THE PARTIES’
                  MINOR CHILDREN TO DISMISS THE CASE
      This motion to dismiss requires the Court to decide whether a chapter 11
debtor that lies under oath repeatedly, devises and implements a scheme to conceal
and dispose of assets to defraud his creditors, and files a bankruptcy case that
serves no legitimate bankruptcy purpose and, in fact, corrupts the bankruptcy
process, acts in bad faith within the meaning of §§ 1112(b) and 1129(a) and should
have his case dismissed. Specifically, there can be no dispute that Harlow N.
Higinbotham (the “Debtor”) lied under oath about the property that he owns and
that is property of the estate , colluded with his wife, Susan Higinbotham, to hide
assets from his three children who were awarded child support, and admitted to
filing this case solely to circumvent a state law that prohibits him from staying
execution on a child support judgment; a judgment that he can afford to pay. This
case is a textbook example of a bad faith filing, so it should be dismissed. .


                                  1. BACKGROUND.

      This case arises out of a long-running, multi-continental dispute over the
failure of Harlow N. Higinbotham (the “Debtor”) to pay child support to Wipaporn
Teekhungam and the parties’ ten-year-old triplets, A.H., A.H., and A.H.1 The



1Teekhungam and the children presented additional details about the history of the
dispute to this Court in the state court’s post-trial judgment (attached as Ex. A) and



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Debtor and Teekhungam met in Thailand in 2001. At the time, the Debtor was
married to Susan Higinbotham. The Debtor and Teekhungam continued their
relationship, eventually undergoing IVF treatment and having their triplet sons on
November 5, 2008. The Debtor provided financial support for Teekhungam and the
children during this period.

       The Debtor attempted to keep Teekhungam and the children a secret from Ms.
Higinbotham, but on or about September 6, 2009, she found out about them. That
changed everything. At that point, the Debtor and Ms. Higinbotham began a
decade-long scheme to deprive Teekhungam and the children of the financial
support to which they were entitled.

       After the Debtor stopped supporting the children, Teekhungam filed suit in
Thailand for child support. Teekhungam won that suit, and the Debtor appealed all
the way to the Supreme Court of Thailand, which affirmed. Despite this, the Debtor
refused to comply with the Thai child support order, so Teekhungam registered the
judgment in the Circuit Court of Cook County. The Debtor fought that effort too,
lodging several appeals when the state court did not rule in his favor.

       While the Chicago case proceeded, the Debtor filed a lawsuit in England
(where Teekhungam had moved), claiming that Teekhungam had violated an
agreement between the parties to keep their relationship private. The Debtor lost
that lawsuit, appealed, and lost again. The Debtor also paid for his wife to sue the
Debtor and Teekhungam in Thailand under a dissipation theory. Ms. Higinbotham
lost that suit, too.

       As this legal war played out, the Debtor and Ms. Higinbotham concocted and
implemented a scheme to conceal assets and thus to make them unavailable to
satisfy his child support obligations. As the Illinois state court later found after


in their motion for stay relief (ECF No. 10), reply (ECF No. 32), and supplemental
brief (ECF No. 47).


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trial, the Debtor engaged in “an ‘illusory’ course of conduct designed to remove all of
his assets from himself and transfer them to his wife, Susan” as part of “an effort to
reduce his ability to pay child support.” Ex. A, at 13.

       The scheme between Ms. Higinbotham and the Debtor has multiple elements
and transactions. Among other things, the Debtor transferred a mansion in Joliet
that he owned solely in his name into tenancy by the entirety. He gave half his
shares in a multi-million-dollar Chicago cooperative to her. And he executed fake
promissory notes in her favor, transferred millions of dollars to her, and purported
to give her all of his property.

       In a “promissory note” dated September 27, 2009, the Debtor promised to pay
Ms. Higinbotham $4 million, at 15% interest, on demand, collateralized by “all of
my art, stamps, coins, jewelry, and other tangible assets owned by me as well as
10,000 shares of ITW and future bonus income.” Promissory Note (attached as
Ex. B).2

       The Debtor and Ms. Higinbotham later signed a handwritten document dated
April 10, 2011, regarding “Formal Agreement on Division of Marital Assets.”
Document dated Apr. 10, 2011 (attached as Ex. C). In that document, the Debtor
               affirm[ed] the following:

                     1. A grant which is irrevocable of a 100% interest
                        in the IRA at Fidelity which today is valued at
                        approximately $1.28 million.

                     2. I pledge a cash gift of sufficient amount to bring
                        the Higinbotham Capital account to $1.0
                        million, with interest commencing April 11,
                        2011 at a rate of 7.5%.

                     3. On payment, this will extinguish the $4 million
                        outstanding note.


2Although Exhibits B to F and H indicate that they are “Confidential—Subject to
Protective Order,” the state court protective order was vacated on August 23, 2018.


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                     4. All future expenditures related to legal matters
                        familiar to both of us will be matched in terms
                        of cash payments to Susan and included as
                        marital assets.

                     5. All of the above payments to Susan will be
                        Susan’s sole exclusive property and not part of
                        the marital estate.

Id.

       The Debtor also signed a handwritten document dated April 13, 2011,
regarding “Promissory Note to Susan Higinbotham dated on or about 9/15.”
Document dated Apr. 13, 2011 (attached as Ex. D). In that document, the Debtor
“freely affirm[ed] that I owe Susan Higinbotham $4 million and unpaid interest at
$50,000 per month since inception.” Id.

       The Debtor and Ms. Higinbotham also signed a handwritten document dated
September 16, 2011. Document dated Sep. 16, 2011 (attached as Ex. E). In that
document, the Debtor stated, “I hereby grant to Susan S. Higinbotham, my wife, all
of my worldly possessions, in consideration of her countless hours of devotion to me
and our family and her commitment to our marriage now and forever.” Id.

       The Debtor also signed a handwritten document dated April 8, 2013, regarding
“Contract for Advice on Legal Matters.” Document dated Apr. 8, 2013 (attached as
Ex. F). Ms. Higinbotham is not a lawyer. In the document, the Debtor states:
               This will acknowledge the services that you have been
               rendering to me on various legal matters of great import
               to my reputation and future. In addition to the thousands
               of hours that you have invested in dealing with and
               managing my attorneys in the US and Thailand, you have
               provided key insights and invaluable guidance. In
               compensation for these services rendered, I hereby
               provide to you this promissory note for ten million US
               dollars (US $10,000,000) to be paid out of my current and
               future resources and funds.




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Id. The $10 million bore no relationship to anything relevant and instead was just
“a number [Ms. Higinbotham] suggested and [the Debtor] agreed with.” Transcript
of § 341 Meeting (excerpts attached as Ex. G), at 24:21–24. No money changed
hands. Id. at 24:25–25:4.

       The Debtor also provided what purports to be an accounting of the $4 million
promissory note. See Spreadsheet (attached as Ex. H). The spreadsheet, though,
does not match the other documents that the Debtor provided, further calling into
question the whole series of transactions. The spreadsheet tracks “principal
increases” on the note, although the note itself does not provide for principal
increases. The spreadsheet also tracks principal increases and “interest payments”
from September 27, 2009, to April 5, 2018, even though the note was purportedly
extinguished on or about April 10, 2011. The Debtor’s “affirmation” of the note on
April 13, 2011, does not account for the payments that the spreadsheet indicates
that he made before that date. The spreadsheet does not mention the $10 million
note at all.

       Based on the spreadsheet, the Debtor used the “notes” to transfer more than
$2.7 million to Ms. Higinbotham over the past nine years. Of that, he transferred
about $2.2 million after supposedly transferring “all his worldly possessions” to her
in September 2011.

       The Debtor continued his charade in the state court proceeding, where he
submitted a financial affidavit that was supposed to fully disclose all his assets. The
Debtor, however, secretly listed only 10% of many assets’ values. He diluted the
values in this way because, he claimed, Ms. Higinbotham “owned” the other 90% of
those assets. Trial Tr., June 22, 2018, (excerpts attached as Ex. I) at 233:8–237:3.

        In June 2018, after years of litigation, the Illinois state court was able to hold
a trial on modification of the child support obligation. On September 14, 2018, the
state court entered a judgment in favor of Teekhungam and the children and



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against the Debtor. Ex. A. Among other things, the state court made extensive
findings about the Debtor’s misconduct over the years, and it ordered the Debtor to
pay $11,000 in support each month for each of the children and to fund a $1.5
million trust for each of the children. Id. at 15–16. On November 5, 2018, the state
court fixed the amount of the past-due child support at $1,979,972.09, entered a
money judgment against the Debtor, and provided a mechanism for enforcement of
the judgment through the previously appointed receiver. Order (attached as Ex. J).

       The Debtor filed this bankruptcy case just hours after entry of the November 5
order, with a stated purpose of staying that order. Four days later, Teekhungam
and the children filed a motion for stay relief (ECF No. 10), seeking to terminate the
stay with respect to the state court proceeding. The Debtor opposed that motion
and, as of the filing of this motion, the Court has not ruled on it.

       In the latest maneuver, on December 28, 2018, Ms. Higinbotham filed her own
divorce petition. Apparently dissatisfied with the way this case is progressing, Ms.
Higinbotham calculated that her best option is to create further chaos in this Court
by introducing another legal proceeding and more lawyers into this dispute. The
Debtor and Ms. Higinbotham have been in lockstep since September 2009, and
there is no reason to think that the new divorce case is anything but another
collusive attempt to thwart the rights of Teekhungam and the children.

       This bankruptcy case is nothing more than an effort to delay and defeat the
child support claim of Teekhungam and the children. The Debtor filed this case in
bad faith, so it should be dismissed.


                                    2. DISCUSSION

       A chapter 11 case must be dismissed “for cause.” 11 U.S.C. § 1112(b)(1). Cause
is not defined in the Bankruptcy Code, but there are several grounds specifically
enumerated in § 1112(b)(4). If cause is established, a party opposing relief must
first specifically identify “unusual circumstances establishing that converting or


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dismissing the case is not in the best interests of creditors and the estate.”
§ 1112(b)(2). “Unusual circumstances” is not defined, but “contemplates conditions
that are not common in most chapter 11 case.” In re Aurora Memory Care LLC, 589
B.R. 631, 638 (Bankr. N.D. Ill. 2018). The opponent must also show that a plan is
reasonably likely to be confirmed in a reasonable time. § 1112(b)(2)(A). And the
opponent must show that it had a reasonable justification for the act or omission
constituting cause and that the act or omission will be cured within a “reasonable
period of time.” § 1112(b)(2)(B).

       Here, cause exists to dismiss this case because the debtor filed it in bad faith,
and dismissal it must be, especially in light of Ms. Higinbotham’s recent state court
antics.

2.1. The case should be dismissed because the Debtor filed it in bad faith.

       “Chapter 11 bankruptcy petitions are subject to dismissal under 11 U.S.C.
§ 1112(b) unless filed in good faith, and the burden is on the bankruptcy petitioner
to establish that its petition has been filed in good faith.” NMSBPCSLDHB, L.P. v.
Integrated Telecom Express, Inc. (In re Integrated Telecom Express, Inc.), 384 F.3d
108, 118 (3d Cir. 2004).

       According to Collier’s, there are numerous circumstances that constitute bad
faith.
               Although the application of the standard necessarily
               turns on the totality of the circumstances of each
               individual case, situation in which good faith have bene
               found to be lacking include those involving (1) filing of
               false or misleading information, (2) use of bankruptcy as a
               vehicle to defraud others, (3) the persistent failure to
               comply with applicable court orders, rules, or procedures
               (4) use of the bankruptcy process to escape familial
               obligations, (5) the secretion of property and other efforts
               to avoid the disclosure of assets, (6) use of the bankruptcy
               system simply to avoid the consequences of prior
               misconduct, (7) the filing of a case to avoid an obligation



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               under circumstances in which the debtor is not in need of
               reorganization, (8) the absence of legitimate debt, (9) the
               absence of any likelihood of rehabilitation, (10) use of
               bankruptcy as a vehicle to resolve disputes solely between
               two parties [and] (11) use of the bankruptcy process
               merely to frustrate the rights of creditors (particularly
               with respect to single asset cases) or to coerce unfair
               treatment ….

Collier on Bankruptcy ¶ 1112.07[2] (collecting cases). “In situations like these,
although the debtor or some other party might in many instances otherwise proceed
to formulate a plan of reorganization, continuing the process is thought to constitute
a perversion of the reorganization laws and the court may terminate the
proceedings to prevent the abuse.” Id.

       In addition to the above factors, a chapter 11 case is filed in bad faith when the
debtor files it to get a free stay pending appeal of a judgment he has the ability to
satisfy. Marsch v. Marsch (In re Marsch), 36 F.3d 825, 828–29 (9th Cir. 1994). “If the
debtor’s only purpose for filing the case is to delay (or defeat) a single judgment
creditor, and the case has little or no ability to benefit the creditor body as a whole,
then the debtor has not filed the Chapter 11 in good faith.” In re Liptak, 304 B.R.
820, 836–37 (Bankr. N.D. Ill. 2004). See also In re Schwartz, 799 F.3d 760, 764 (7th
Cir. 2015) (affirming dismissal of chapter 7 case for cause based on “an unjustified
refusal to pay one’s debts”); In re Garzon, 2018 Bankr. LEXIS 3818, at *13–14
(Bankr. N.D. Ill. Dec. 3, 2018) (finding bad faith when debtor filed chapter 13 case
“to gain the benefit of the automatic stay, postpone payment of the debt to his ex-
wife, and, if he plays his bankruptcy cards right, never pay the debt at all”).

       Obtaining the protection of the automatic stay cannot be the only purpose of a
bankruptcy case. Garzon, 2018 Bankr. LEXIS 3818, at *13–14 (citing In re Tabor,
583 B.R. 155, 183 (Bankr. N.D. Ill. 2018)); In re Carrera, 2016 Bankr. LEXIS 3020,
at *22 (B.A.P. 9th Cir. Aug. 16, 2016), aff’d sub nom. In re Vizconde, 715 Fed. Appx.
630 (9th Cir. Nov. 29, 2017) (affirming a bankruptcy court’s sanctions under



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Rule 9011 where a case was filed “‘just to buy time to cut a deal,’ which the court
noted was ‘not a proper purpose for filing a bankruptcy case’”); In re Prometheus
Health Imaging, Inc., 2015 Bankr. LEXIS 3743, at *15 (B.A.P. 9th Cir. Nov. 2, 2015)
(“abuse of the automatic stay or use of other litigation tactics unrelated to
reorganization can constitute bad faith”).

       This case ticks off multiple bad-faith factors.


       2.1.1. The Debtor made false and misleading statements under oath.

       Most importantly, the Debtor has made false and misleading statements under
oath about the property of the estate. On Schedule A/B, the Debtor was required to
list all the assets he owned. Am. Schedules, ECF No. 34, at 1–9. On that schedule,
which the Debtor signed under penalty of perjury, the Debtor listed many assets,
with a disclosed value of $20,641,520.05. Id. But at the § 341 meeting, the Debtor
admitted that he disclosed only half of the value of many of the assets. Ex. G at
38:19–39:8. He testified that he listed the assets only “for disclosure purposes,” “to
inform [parties] as to what property out there is an attachment to me.” Ex. G, at
38:25–39:3, 41:18–19. In fact, he claims, he gave all his property to his wife. Id. at
39:9–15. He believes that he does not own any personal property and may not own
any real property:
               [Q]: So is it your position that you don’t own any personal
               property?
               [A]: Yes.
               [Q]: Do you own any real estate?
               [A]: No. No. Excuse me, we are joint tenants in (inaudible)
               in the Joliet real estate, but, again, I’ve also given her
               everything, so I don’t know ….

Ex. G, 41:21–42:2.




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       These inconsistent statements are part of a pattern: in a statement under oath
in state court, he disclosed just 10% of many assets’ values to mislead the state
court about the scope of his property.

       That the Debtor made these false and misleading statement under oath is
alone grounds for dismissal, if not worse. But they also show how the Debtor has
painted himself into the proverbial corner on the bad faith calculus. If, on one
hand, the Debtor really does not own any property, then he has no hope of
confirming a chapter 11 plan. Among other problems, he must pay the
$6,479,972.09 domestic support obligation he owes to Teekhungam and the children
in full on the effective date of any plan. 11 U.S.C. §§ 1129(b)(9)(B), 507(a)(1)(A).
With no assets, that is an impossible task.

       Conversely, if the full value of the Debtor’s assets is considered, there is more
than enough to satisfy his child support obligations and still repay his wife and the
family trusts (if they are even legitimate creditors). In that event, there would be no
need for a bankruptcy proceeding. In either case, the bankruptcy case should be
dismissed.


       2.1.2. The Debtor is using this case as a vehicle to escape familial
              obligations and to further his scheme to hide assets from child
              support creditors.

       As described above and in the state court’s September 14 judgment, the Debtor
has been engaged in a scheme with his wife since 2009 to remove assets from his
name and into hers for the purposes of reducing his ability to pay child support. The
Debtor has attempted to transfer everything—from the Joliet mansion, to his
brokerage accounts, to “all his worldly possessions”—to Ms. Higinbotham. He has
continued this scheme in this case by failing to report the true value of his assets
and by claiming he does not own any assets at all. This is not a valid use of
bankruptcy, so the case should be dismissed.




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       2.1.3. The Debtor is attempting to avoid the consequences of his prior
              misconduct.

       During the state court proceeding, the Debtor violated a protective order and
submitted a false financial affidavit, and Teekhungam and the children are seeking
sanctions against him for that misconduct. See Mot. for Sanctions (attached as Ex.
K); Mot. to Vacate (attached as Ex. L), at 5–8. These motions must be resolved
before the state court judgment on child support can be appealed. The Debtor,
however, wants the appeals to proceed, but not the sanctions motions, which he
thinks “should be resolved through the claims process in the Chapter 11 case.”
Resp., ECF No. 26, ¶ 27. But the Debtor is seriously misguided on this issue, as the
Seventh Circuit has held:
               A litigant should not be allowed to delay the imposition of
               sanctions indefinitely by the expedient of declaring
               bankruptcy. Allowing him to do so would not only
               increase the number of bankruptcy filings but also create
               incentives for unprofessional conduct in litigation by firms
               or individuals teetering on the edge of the bankruptcy
               abyss.

Alpern v. Leib, 11 F.3d 689, 690 (7th Cir. 1993) (finding Rule 11 motions excepted
from automatic stay under police-power exception of § 362(b)(4)).

       By filing this case, the Debtor is attempting to avoid state court sanctioning
him for his misconduct. He cannot do that by filing for bankruptcy, so for this
reason, too, the case should be dismissed. Id.


       2.1.4. The Debtor’s main non-support claims are not legitimate.

       The Debtor has one secured debt, and supposedly owes some legal fees and has
a few thousand dollars of credit card debt. But other than those, the only real
creditors in this case are Teekhungam and the children. As explained above and in
the state court’s September 14 judgment, the Debtor and his wife manufactured the
debt to the wife merely to try to reduce his ability to pay child support. The debt is
not legitimate and is not cause for a bankruptcy filing.


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       The Debtor also schedules multi-million-dollar debts to two family trusts of
which he is the trustee and a residual beneficiary. The other beneficiaries of the
trusts are the Debtor’s siblings. On information and belief, the Debtor “borrowed”
the portion of the trusts that he would eventually receive. Cutting through the form
of the transaction, that means that any repayment of the “debt” would be a
repayment to himself. Again, these are not debts that needs to be addressed with a
bankruptcy filing.

       Because the Debtor has no significant legitimate debts other than the domestic
support obligation to Teekhungam and the children, this case is not filed in good
faith and should be dismissed.


       2.1.5. The Debtor is using the bankruptcy process to circumvent Illinois law,
              to frustrate the rights of Teekhungam and the children, and to
              coerce unfair treatment.

       The legislature of the State of Illinois has determined that child support orders
are never stayed pending appeal. “An order requiring maintenance or support of …
a minor child or children ... shall not be suspended or the enforcement thereof
stayed pending the filing and resolution of post-judgment motions or an appeal.”
750 Ill. Comp. Stat. 5/413(a). A party is therefore foreclosed from seeking a stay
pending appeal of any order or judgment of child support. In re Marriage of
Ackerley, 775 N.E.2d 1045, 1061 (Ill. App. Ct. 2002). Also, a case is filed in bad faith
when the debtor files a bankruptcy petition to get a free stay pending appeal of a
judgment he has the ability to satisfy. Marsch v. Marsch (In re Marsch), 36 F.3d
825, 828–29 (9th Cir. 1994). This is especially so when its sole purpose is to
circumvent a state law that prohibits a stay of a domestic support obligation. See In
re Garzon, 2018 Bankr. LEXIS 3818, at *13–14 (Bankr. N.D. Ill. Dec. 3, 2018).

       Teekhungam and the children have the right to immediate enforcement of
their judgments against the Debtor. The Debtor filed this case for the express
purpose of obtaining the stay pending appeal that Illinois law explicitly denies him,


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frustrating the rights of Teekhungam and the children. He can afford to pay the
judgment as he is required by law to do, but instead the Debtor fled to bankruptcy
court to stall in hopes that he may never have to pay. This is not good faith, and the
case should be dismissed.

2.2. Dismissal is in the best interests of creditors and the estate.

       If cause is established, a court may dismiss, convert the case to chapter 7, or
appoint a chapter 11 trust, whichever is in the best interests of creditors and the
estate. 11 U.S.C. § 1112(b)(1).

       Here, dismissal is the appropriate action. As discussed above, there is no
bankruptcy purpose to the case. The Debtor has only one real, significant creditor,
and could satisfy his real obligations outside of bankruptcy. Keeping this case in
bankruptcy will serve only to increase administrative expenses, as a trustee and her
lawyers will undoubtedly incur fees and costs. The bankruptcy case will
undoubtedly be long and contentious, especially now that Ms. Higinbotham has
filed a divorce.

       Dismissal, in contrast, will allow for a more rapid resolution of the parties’
disputes. The state court has already established a mechanism for Teekhungam and
the children to enforce their judgment: the third-party receiver will in short order
take control of a portion of the Debtor’s assets and direct them according to the
court’s instructions. Once that is done, the Debtor can focus on his remaining debts,
if any, without the parties incurring more and more fees on this years-long legal
morass. Dismissal is, therefore, the quickest and most efficient way to resolve the
claims against the Debtor.

       Bankruptcy relief is reserved for honest but unfortunate debtors. Harlow N.
Higinbotham is not one of them. He filed this case in bad faith, without any ability
or need to confirm a plan, and he cannot be trusted to manage the estate.
Wherefore, Teekhungam and the children respectfully request that the Court



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dismiss this case and grant such further relief as is appropriate in the
circumstances.

Dated: January 9, 2019                        Respectfully submitted,

                                              Wipaporn Teekhungam, A.H, a
                                              minor, A.H., a minor, and A.H., a
                                              minor

                                              By: /s/ William J. Factor
                                              One of Their Attorneys

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